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 8                          UNITED STATES DISTRICT COURT

 9                         SOUTHERN DISTRICT OF      CA~IFORNIA

10                               June 2017 Grand Jury
                                                               17 CR267 8 BEN
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13
     UNITED STATES OF AMERICA,



            v.
                       Plaintiff,
                                                Case No.

                                                I N D I C T ME N T
                                             ----~            ---
                                                Title lj, U.S.C., Sec. 1591(a)
                                                and (b) - Sex Trafficking of a
                                                                                                      '
14   DENZIEL BURKE                              Child; Title 18, U.S.C.,
                                                Sec. 1594(d) - Criminal Forfeiture
15                     Defendant.
16

17         The grand jury charges:
18                                      Count 1

19         Between on or about August 6, 2017 and on or about August 8, 2017,

20   within the Southern District of California, defendant DENZIEL BURKE, in

21   and   affecting   interstate   commerce,     did    knowingly        recruit,               entice,

22   harbor, transport, provide, obtain, and maintain by any means a person,

23   to wit, Minor Female #1 (age 14), knowing, in reckless disregard of the

24   fact that, and having had a reasonable opportunity to observe that Minor

25   Female #1   had not   attained the age of          18 years        and knowing and in

26   reckless disregard of the fact that Minor Female #1 would be caused to

27   engage in a commercial sex acti in violation of Title 18, United States

28   Code, Section 1591(a) and (b).


     EGR:nlv:San Diego:9/5/17
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 1                                        FORFEITURE ALLEGATIONS

 2           1.    The allegations contained in Count 1 of this Indictment are

 3   re-alleged and by their reference fully incorporated herein for the

 4   purpose of alleging forfeiture to the United States of America pursuant

 5   to the provisions of Title 18, United States Code, Section 1594(d).

 6           2.    Upon conviction of            the   offense    alleged in Count          1,     which

 7   involve      violations    of       Title   18,   United    States    Code,     Section       1591,

 8   defendant DENZIEL BURKE shall forfeit to the                      United States, pursuant

 9   to Title 18, United States Code, Section 1594(d) all right,                           title and
10   interest in (1) any property, real or personal, used or intended to be

11   used to commit or to facilitate the commission of the offense; and (2)

12   any property,       real       or    personal,    constituting       or    derived    from,     any

13   proceeds obtained, directly or indirectly, as a result of the offense.
14   The property to be             forfeited     includes,     but   is not      limited to seven

15   cellular telephones and one Chevrolet Camara with VIN #2G1FA1EV2A9179398
16   seized at the time of the defendant's arrest.

17           3.    If   any    of        the   forf eitable   property         described   above      in

18   Paragraph 2, as a result of any act or omission of the defendant;

19                 a.    cannot be located upon the exercise of due diligence;

20                 b.    has been transferred or sold to,                  or deposited with,          a

21   third party;

22                 c.    has been placed beyond the jurisdiction of the Court;

23                 d.    has been substantially diminished in value; or

24                 e.    has been commingled with other property which cannot be

25   subdivided without difficulty;

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21   II
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 1   it is the intent of the United States,         pursuant to Title 18,        United

 2   States Code, Section 2253(0), to seek forfeiture of any other property

 3   of the defendant up to the value of the forfeitable property described

 4   above in Paragraph 2.

 5   All pursuant to Title 18, United States Code, Section 1594(d).

 6         DATED:   September 6, 2017.

 7                                                 A TRUE BILL:

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10   ALANA W. ROBINSON
     Acting United States Attorney
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12   By:
           ERIC G. ROSCOE
13         Assistant U.S. Attorney
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